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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Maplevale Farms, Inc., et al.
                                     Plaintiff,
v.                                                     Case No.: 1:16−cv−08637
                                                       Honorable Thomas M. Durkin
Mar−Jac Holdings, Inc., et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 11, 2021:


        MINUTE entry before the Honorable Thomas M. Durkin: Joint Motion and
Stipulation of Dismissal with Prejudice of George's Defendants in Case No. 18−cv−702
US Foods, Inc. v. Tyson Foods, Inc., et al. [4148] is granted. Mailed notice. (ecw, )




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